Exhibit 2
Case Name:   In re Virtu Financial, Inc. Securities Litigation   Case Number: 1 : 2 3 CV - 03370   ( NGG ) (PK)


                                         CONFIDENTIALITY ORDER

          It is hereby ordered that the following provisions shall govern claims of confidentiality in
       these proceedings:

       (a) The following documents and information may be designated as “confidential,” provided
           such documents are not public and have not previously been disclosed by the producing
           party to anyone except those in its employment or those retained by it [check all that
           apply]:

             X Sensitive Commercial Data, such as confidential or proprietary research, development,
             manufacturing, or commercial or business information, trade secrets, special formulas,
             company security matters, customer lists, financial data, projected sales data, production
             data, matters relating to mergers and acquisitions, and pricing data.

             X Sensitive Personal Data, such as personal identifiers, financial information, tax records,
             and employer personnel records.

             X Medical and Legal Records, including medical files and reports.

                Non-public criminal history.

       (b) If any party believes a document not described in the above paragraph should nevertheless
           be considered confidential, it may make application to the Court. Such application shall only
           be granted for good cause shown.

       (c) An attorney for the producing party may designate documents or parts thereof as
           confidential by stamping the word “confidential” on eachpageeach page.

             If such information is provided in an answer to an interrogatory, the attorney may separately
             append the information to the main body of the interrogatory responses, mark such
             appendices “confidential,” and incorporate by reference the appended material into the
             responses.

             At the time of a deposition or within 10 days after receipt of the deposition transcript, a
             party may designate as confidential specific portions of the transcript which contain
             confidential matters under the standards set forth in paragraph (a) above. This designation
             shall be in writing and served upon all counsel. No objection shall be interposed at
             deposition that an answer would elicit confidential information. Transcripts will be treated as
             confidential for this 10-day period. Any portions of a transcript designated confidential shall
             thereafter be treated as confidential in accordance with this Order. The confidential portion
             of the transcript and any exhibits referenced solely therein shall be bound in a separate

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    volume and marked “Confidential Information” by the reporter.

(d) Documents designated “confidential” shall be shown only to the attorneys, parties, experts,
    mediators, actual or proposed witnesses, court personnel, court reporters, and other
    persons necessary to review the documents for the prosecution or defense of this lawsuit.
    Each person who is permitted to see confidential documents shall first be shown a copy of
    this Order and shall further be advised of the obligation to honor the confidential
    designation. Each person who is permitted to see confidential documents, who is not a
    party or an attorney for a party, shall be required to sign an agreement to be bound by this
    Order, attached hereto as Exhibit A. The parties agree that any confidential discovery
    material produced in this litigation may only be used in connection with this litigation.

(e) Review of the confidential documents and information by counsel, experts, or consultants for
    the litigants in the litigation shall not waive the confidentiality of the documents or objections
    to production.

(f) The inadvertent, unintentional, or in camera disclosure of a confidential document and
    information shall not generally be deemed a waiver, in whole or in part, of any party’s
    claims of confidentiality. If at any time prior to trial, a producing party realizes that some
    portion(s) of the discovery material that the party produced should be designated as
    “confidential,” the party may so designate by apprising all parties in writing, and providing
    that the material has not already been published or otherwise disclosed, such portion(s) shall
    thereafter be treated as confidential under this Order.

(g) Documents designated confidential which are disclosed in contravention of the
    provisions of this Order (through inadvertence or otherwise) shall continue to be
    protected by these provisions. Upon learning of the disclosure of such materials in
    contravention of the provisions of this Order, the person that made the disclosure
    shall promptly: (i) give written notice of the disclosure to the designating party,
    which shall include a specific description of the improperly disclosed confidential
    material; (ii) give written notice to the recipient of the improperly disclosed
    confidential material; (iii) provide the improper recipient with a copy of this Order
    and request that the improper recipient sign a copy of the attached Exhibit A; (iv)
    give written notice to the designating party of the improper recipient’s response to
    this request; (v) make reasonable good faith efforts to retrieve the improperly
    disclosed confidential material and all copies; and (vi) give written notice to the
    designating party of the result of such efforts. The designating party’s rights and
    remedies with respect to any such improper disclosure are hereby reserved.

(h) If any person having received any material designated pursuant to this Order as
    confidential (a) is subpoenaed in another action, (b) is served with a discovery
    demand in another action, (c) is served with any other legal process by a non-party
    to this litigation, or (d) otherwise receives a request from a non-party to this
    litigation, seeking such designated material, that person shall, unless prohibited by
    law, provide written notice within three (3) business days of receipt of such

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    subpoena, demand, legal process or request, to the producing party’s counsel, who
    may seek a protective order or otherwise seek to preclude disclosure of such
    material. Should the person seeking access to such designated material take any
    action against the recipient of confidential information to enforce such subpoena,
    demand, other legal process or request, the recipient shall respond by setting forth
    the existence of this Order. Nothing herein shall be construed as requiring the
    recipient or anyone else covered by this Order to challenge or appeal any order
    requiring production of such material, to become subject to any penalties for
    noncompliance with any legal process or order, or to seek any relief from this Court.

(gi) If a party believes that a document designated or sought to be designated confidential by the
     producing party does not warrant such designation, the party shall first make a good-faith
     effort to resolve such a dispute with opposing counsel. In the event that such a dispute
     cannot be resolved by the parties, either party may apply to the Court for a determination as
     to whether the designation is appropriate. The burden rests on the party seeking
     confidentiality to demonstrate that such designation is proper.

(hj) The parties shall comply with the Eastern District of New York’s Steps for E-Filing Sealed
     Documents in Civil cases, located at
     https://www.nyed.uscourts.gov/sites/default/files/forms/EfilingSealedCV.pdf, if they wish
     to move to file a document under seal.

(ik) Within a reasonable period after the conclusion of the litigation, and upon request of the
     producing party, all confidential material shall be returned to the respective producing
     parties or destroyed by the recipients.

(l) Pursuant to Fed. R. Evid. 502(d), the Court hereby orders that if a producing party
    discloses information in connection with this action that the producing party
    thereafter claims to be privileged or protected by the attorney-client privilege or
    attorney work product protection (“Protected Discovery Material”), the disclosure
    of that Protected Discovery Material will not constitute or be deemed a waiver or
    forfeiture—in this action or any other action—of any claim of privilege or work
    product protection that the producing party would otherwise be entitled to assert
    with respect to the Protected Discovery Material and its subject matter. For the
    avoidance of doubt, the provisions of Fed. R. Evid. 502(b) are inapplicable to the
    disclosure of Protected Discovery Material under this Order. Rather, if at any time
    prior to trial the producing party determines that it has produced or disclosed
    Protected Discovery Material, it shall promptly in writing notify the receiving party
    of the disclosure. Upon receipt of such notice, the receiving party shall return,
    sequester, delete, or destroy all copies of the Protected Discovery Material and shall
    provide a written representation of the same to the producing party within fourteen
    (14) days. If the receiving party disputes that the Protected Discovery Material is
    entitled to privilege or work-product protection, that party must notify the
    producing party of its objection within seven (7) days of its receipt of written notice
    from the producing party, and if the parties cannot resolve the dispute informally
    after meeting and conferring in good faith, either party may apply to this Court for
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   an appropriate ruling.

(jm) In any application to the Court referred to or permitted by this Order, the Court may
    exercise discretion in determining whether the prevailing party in such a dispute may recover
    the costs incurred by it and, if so, the amount to be awarded.




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     (kn)This Court shall retain jurisdiction over all persons subject to this Order to the extent
         necessary to enforce any obligations arising hereunder.

Dated: July 15, 2025                                    Dated: July 15, 2025
ROBBINS GELLER RUDMAN                                   PAUL, WEISS, RIFKIND, WHARTON &
 & DOWD LLP                                             GARRISON LLP
SAMUEL H. RUDMAN                                        AUDRA J. SOLOWAY
DAVID A. ROSENFELD                                      ANDREW G. GORDON
MARIO ALBA JR.                                          ALISON R. BENEDON
ROBERT D. GERSON                                        JOHAN E. TATOY
MAGDALENE ECONOMOU
JOSHUA D. FORGY


            /s/ Robert D. Gerson                                   /s/ Alison R. Benedon
           ROBERT D. GERSON                                       ALISON R. BENEDON

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                                                        Inc., Douglas Cifu, Joseph Molluso, Alex
Lead Counsel for Lead Plaintiff                         Ioffe, and Sean Galvin

  Dated:
                                         Counsel for




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                                                                                              REV. 4-20-20
Dated:
                             Counsel for
                            SO ORDERED:

Dated: Brooklyn, New York
                   , 20
                            PEGGY KUO
                            United States Magistrate Judge




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                                            EXHIBIT A

 I have been informed by counsel that certain documents or information to be disclosed to me

 in connection with the matter entitled:                                                    have

 been designated as confidential. I have been informed that any such documents or

 information labeled “confidential” are confidential by Order of the Court.

          I hereby agree that I will not disclose any information contained in such documents to

 any other person. I further agree not to use any such information for any purpose other than

 this litigation.



                                                      DATED:
[Signature]


 Signed in the presence of:




(Attorney)




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                             Summary report:
    Litera Compare for Word 11.10.0.38 Document comparison done on
                          7/15/2025 12:07:55 PM
Style name: PW Basic
Intelligent Table Comparison: Active
Original filename: FormConfidentialityOrder-PK (1) (002).docx
Modified filename: FormConfidentialityOrder-PK (Modified).docx
Changes:
Add                                                         20
Delete                                                      14
Move From                                                   0
Move To                                                     0
Table Insert                                                1
Table Delete                                                0
Table moves to                                              0
Table moves from                                            0
Embedded Graphics (Visio, ChemDraw, Images etc.)            0
Embedded Excel                                              0
Format changes                                              0
Total Changes:                                              35
